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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               GREENVILLE DIVISION


UNITED STATES OF AMERICA


VERSUS                                                        CRIMINAL ACTION NO. 4:05CR95


VESTER WRIGHT, A/K/A “V”


                                                ORDER

        This cause is before the Court on defendant Wright’s Motion for an Order Requiring the

Prosecution to Give Notice of its Intention to Use Other Crimes, Wrongs or Act Evidence [483].

The Court, having reviewed the motion, the response, the authorities cited and being otherwise fully

advised in the premises, finds as follows, to-wit:

        That the motion is well-taken and should be granted.

        IT IS, THEREFORE, ORDERED AND ADJUDGED that defendant Wright’s Motion for

an Order Requiring the Prosecution to Give Notice of its Intention to Use Other Crimes, Wrongs or

Act Evidence [483] is well-taken and should be, and hereby is, GRANTED. IT IS FURTHER

ORDERED that the government is to provide defendant Wright with notice of the 404(b) evidence

it intends to introduce at trial at least two weeks prior to trial.

        SO ORDERED, this the 5th day of May, 2006.


                                                         /s/ W. Allen Pepper, Jr.
                                                         W. ALLEN PEPPER, JR.
                                                         UNITED STATES DISTRICT JUDGE
